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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :            Date of
                                               :            Notice: July 17, 2018
               vs.                             :
                                               :
CHARLES M. HALLINAN                            :            Criminal No. 16-130-01
NORTH SPRING MILL ROAD
VILLANOVA, PA 19085

               TAKE NOTICE that the above-entitled case has been set for Hearing on Motion
for Bail in the United States District Court, United States Courthouse, 601 Market Street,
Philadelphia, Pennsylvania, on July 23, 2018 at 9:00 a.m. before the Honorable Eduardo C.
Robreno in Courtroom 15-A, 15th Floor.

          ALL DEFENDANTS ARE DIRECTED TO REPORT TO THE COURTROOM
ON THE DATE AND TIME STATED ABOVE. IF A DEFENDANT FAILS TO APPEAR AS
DIRECTED, THE BAIL MAY BE FORFEITED AND A BENCH WARRANT ISSUED.

              If a defendant is presently in jail, the defendant or his counsel shall notify the
undersigned in writing immediately so that the necessary procedures can be taken to have the
defendant present in the courtroom.

                                               Very truly yours,

                                                   s/ Ronald Vance
                                               Ronald Vance
                                               Deputy Clerk to Judge Robreno


[] INTERPRETER REQUIRED
[] THIS PROCEEDING HAS BEEN RESCHEDULED FROM


                               Notice to:
                                               Defendant (mailed)
                                               Edwin Jacobs, Defense Counsel (via e-mail)
                                               Mark Dubnoff, A.U.S.A. (via e-mail)
                                               U.S. Marshal (via e-mail)
                                               Probation Office (via e-mail)
                                               Pretrial Services (via e-mail)
                                               Larry Bowman (via e-mail)

Cr 4 (rev. 8/98)
